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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

__________________________________________
NICOLE WADE, AMY DISALVATORE, )
and DYLAN BARKASY                          )
Plaintiffs                                 )
                                           )
v.                                         )          NO. 3:21-cv-924-JAM
                                           )
UNIVERSITY OF CONNECTICUT                  )
BOARD OF TRUSTEES and                      )
ANDREW AGWUNOBI,                           )
Defendants                                 )

  AMENDED EMERGENCY MOTION FOR PRELIMINARY INJUNCTION

      Plaintiffs, Nicole Wade, Amy DiSalvatore and Dylan Barkasy, hereby move in

accordance with Fed. R. Civ. P. 65 and Local Rule 7(a)(4) and 7(a)(6), for an

expedited preliminary injunction against the additional defendant named in their

lawsuit, Andrew Agwunobi’s, enforcement of the University of Connecticut’s vaccine

mandate outlined in plaintiffs’ Complaint and First Amended Complaint. Plaintiffs

further rely on the same arguments in their memorandum of law in support of their

motion, as the claims and argument regarding Agwunobi’s enforcement of the policy

are the same as against the Board of Trustees.

      Plaintiffs amended their complaint under Fed. R. Civ. P. 15 (a) to include

defendant Agwunobi, after the defendant Board of Trustees raised issues of

jurisdiction and standing. All claims against the Board of Trustees were asserted

against Agwunobi for his continued enactment and enforcement of the unlawful

policy in his official capacity, in conjunction with the Board of Trustees.
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Plaintiffs further propose that this preliminary injunction hearing be joined with

the currently scheduled preliminary injunction hearing scheduled for August 12,

2021. As reasons therefore;

   1. Plaintiffs’ have not amended their claims, but rather joined an additional

      party (defendant Agwunobi) in his official capacity regarding his

      enforcement of the policy, under the same substantive claims;

   2. All of plaintiffs’ claims and argument as to the merits of the policy apply the

      same to the continued enforcement of the policy by defendant Agwunobi;

   3. Plaintiffs’ Counsel has been in contact with the Attorney General’s Office,

      who have been emailed a copy of the First Amended Complaint while

      plaintiffs serve it upon defendant Agwunobi, therefore there will be no

      prejudice with respect to service or delay; and

   4. Defendants’ Opposition to Plaintiffs’ Motion for Preliminary Injunction and

      accompanying memorandum, save the issue of standing and jurisdiction,

      would apply equally to the Amended Motion for Preliminary Injunction, as

      the claims and defenses are the same.

   Plaintiffs therefore request This Court join this Amended Motion for Preliminary

Injunction for hearing on the August 12, 2021 date originally scheduled prior to the

addition of defendant Agwunobi.

                                              Plaintiffs, by their attorney,



                                               /s/ Ryan P. McLane
                                              Ryan P. McLane, Esq. (Juris: 438176)
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              CERTIFICATE OF SERVICE AND COMPLIANCE

I certify that on this 7th day of August 2021, I caused the foregoing to be served in
this matter by electronic mail to:

                          Mary Lenehan, Esq.
                          Assistant Attorney General
                          165 Capitol Ave
                          Hartford, CT 06106
                          Mary.lenehan@ct.gov


                                              /s/ Ryan P. McLane
                                             Ryan P. McLane, Esq. (BBO: 697464)
